                      Case 4:09-cr-00012-RP-RAW Document 38 Filed 12/30/09 Page 1 of 5
OAO 245B      (Rev. 12/03) Judgment in a Criminal Case
              Sheet 1



                                           UNITED STATES DISTRICT COURT
                      SOUTHERN                                    District of                                    IOWA
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              V.

                    Trent Lewis Taylor                                    Case Number:                      4:09-cr-00012-001
                                                                          USM Number:                       08858-030

                                                                          B. John Burns
                                                                          Defendant’s Attorney
THE DEFENDANT:
:   pleaded guilty to count(s)       One

9   pleaded nolo contendere to count(s)
    which was accepted by the court.

9   was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended               Count
26 U.S.C. § 5841,                  Possession of an Unregistered Sawed-Off Shotgun                          01/30/2009                   One
5861(d), 5871




       The defendant is sentenced as provided in pages 2 through                 5       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

9   The defendant has been found not guilty on count(s)

:   Count(s) Two and Three                               9   is   :   are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          December 29, 2009
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge


                                                                          Robert W. Pratt, Chief U.S. District Judge
                                                                          Name and Title of Judge


                                                                          December 30, 2009
                                                                          Date
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AO 245B         (Rev. 12/03) Judgment in a Criminal Case
                Sheet 2—Probation
                                                                                                                                    Judgment—Page           2       of          5
DEFENDANT: Trent Lewis Taylor
CASE       4:09-cr-00012-001
                                                                                PROBATION

The defendant is hereby sentenced to probation for a term of :                           Five years




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
9         The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
X         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
X         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
9         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student, as directed by the probation officer. (Check, if applicable.)

9         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

              If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of Payments sheet of this judgment.
              The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION
     1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or any paraphernalia
            related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless granted permission
            to do so by the probation officer;
    10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband observed in plain view
            of the probation officer;
    11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the court; and
    13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or personal history or
            characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with such notification requirement.
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 AO 245B    (Rev. 12/03) Judgment in a Criminal Case
            Sheet 2A — Probation
                                                                                                  Judgment—Page     3     of       5
 DEFENDANT:                 Trent Lewis Taylor
 CASE NUMBER:               4:09-cr-00012-001

                                          SPECIAL CONDITIONS OF SUPERVISION

The defendant shall participate in the Home Detention Electronic Monitoring Program for a period of one year. During this time,
the defendant shall remain at his place of residence except for employment and other activities approved in advance, and provide
the U.S. Probation Officer with requested documentation. The defendant shall maintain a telephone at his place of residence without
'call forwarding,' 'call waiting,' a modem, 'caller ID,' or 'call back/call block' services for the above period. The defendant shall wear
an electronic monitoring device and follow the electronic monitoring procedures as instructed by the U.S. Probation Officer. The
defendant shall pay for the electronic monitoring equipment at the prevailing rate or in accordance with ability to pay.

The defendant shall not patronize business establishments where more than fifty percent of the revenue is derived from the sale of
alcoholic beverages.
The defendant shall participate in an approved treatment program for anger control/domestic violence. Participation may include
inpatient/outpatient treatment. The defendant will contribute to the costs of services rendered (co-payment) based on ability to pay
or availability of third party payment.
The defendant shall participate in an approved treatment program for mental health/substance abuse and abide by all supplemental
conditions of treatment. Participation may include inpatient/outpatient treatment and random urinalysis, as directed by the Probation
Officer. Participation may also include compliance with a medication regimen. The defendant will contribute to the costs of services
rendered (co-payment) based on ability to pay or availability of third party payment. The defendant shall not use alcohol or other
intoxicants during and after the course of treatment.
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AO 245B   (Rev. 12/03) Judgment in a Criminal Case
          Sheet 3 — Criminal Monetary Penalties
                                                                                                          Judgment — Page     4      of       5
DEFENDANT:                        Trent Lewis Taylor
CASE NUMBER:                      4:09-cr-00012-001
                                          CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                            Fine                                Restitution
TOTALS            $ 100                                                  $ 0                                  $ 0


9    The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

9    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                 Total Loss*                             Restitution Ordered                   Priority or Percentage




TOTALS                              $                                           $


9     Restitution amount ordered pursuant to plea agreement $

9     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

9     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      9   the interest requirement is waived for the            G   fine    G      restitution.

      9   the interest requirement for the           G   fine       G   restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B    (Rev. 12/03) Judgment in a Criminal Case
           Sheet 4 — Schedule of Payments
                                                                                                      Judgment — Page         5      of      5
DEFENDANT:                   Trent Lewis Taylor
CASE NUMBER:                 4:09-cr-00012-001


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A     :    Lump sum payment of $           100                 due immediately, balance due

           9     not later than                                    , or
           :     in accordance           9    C,      9   D,   9     E, or     : F below; or
B     9    Payment to begin immediately (may be combined with                9 C,     9 D, or     9 F below); or
C     9    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     9    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     9    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     :    Special instructions regarding the payment of criminal monetary penalties:
           All criminal monetary penalty payments are to be made to the Clerk’s Office, U. S. District Court, P. O. Box 9344, Des Moines,
           IA 50306-9344.
           While on supervised release, you shall cooperate with the Probation Officer in developing a monthly payment plan consistent with
           a schedule of allowable expenses provided by the Probation Office.

Nothing in this judgment shall be construed as a limitation on the authority of the United States to apply to the Court for a writ of
garnishment subject to the approval of the Court in accordance with the Federal Debt Collection Procedure Act, 28 U.S.C. §§3301, et seq.,
or applicable State law, during the time period that the defendant is incarcerated or under supervision pursuant to this judgment. (See 18
U.S.C. §3664(m)).
Nothing in this judgment shall be construed as a limitation or restriction on the authority of the Bureau of Prisons to require additional
payments as a condition for an assignment or for participation in any program.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



9     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.



9     The defendant shall pay the cost of prosecution.

9     The defendant shall pay the following court cost(s):

:     The defendant shall forfeit the defendant’s interest in the following property to the United States:
      The weapon outlined in the Indictment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
